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                                 UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                             CHARLESTON DIVISION
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IN RE ETHICON, INC., PELVIC REPAIR                           : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                    : MDL No. 2327
LITIGATION                                                   :
------------------------------------------------------------ : Judge Joseph R. Goodwin
This Document Applies To All Actions                         :
------------------------------------------------------------ X

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                 PLAINTIFFS’ CERTIFICATE OF SERVICE OF
          NOTICE TO TAKE ORAL DEPOSITION OF JUERGEN TRZEWIK

       I hereby certify that on August 1, 2013, I served Plaintiff’s Notice to Take Oral

Deposition of Juergen Trzewik via email and the foregoing document was electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.

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